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                      Exhibit 14
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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 IN RE JOHNSON & JOHNSON                       Civil Action No. 3:16-md-2738- MAS-RLS
 TALCUM POWDER PRODUCT
 MARKETING, SALES                              MDL No. 2738
 PRACTICES AND PRODUCTS
 LIABILITY LITIGATION

 This Document Relates to All Cases




                                 EXPERT REPORT OF

         BERNARD L. HARLOW, Ph.D. and KENNETH J. ROTHMAN, Dr.P.H.

                                      November 15, 2023
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                          Talc and Ovarian Cancer Review;
             Expert report written by Bernard L Harlow, Ph.D. and Kenneth J Rothman, DrPH
                                                November, 2023


MANDATE

We have been retained to review the current state of the science regarding whether genital application of
talcum powder products, including Johnson & Johnson Baby Powder and Shower to Shower, causes
epithelial ovarian cancer in women who use them for genital hygiene.

CREDENTIALS, EXPERTISE, AND EXPERIENCE

Bernard L Harlow, PhD
Dr. Harlow is a Professor of Epidemiology at the Boston University School of Public Health (BUSPH). Formerly, he
was the Mayo Professor and Chair of the Division of Epidemiology and Community Health at the University of
Minnesota School of Public Health for 10 years. Before becoming Chair in Minnesota, Dr. Harlow was an
Associate Professor of Ob/Gyn and Reproductive Medicine at Brigham and Women’s Hospital and Harvard
Medical School, and Associate Professor of Epidemiology at the Harvard School of Public Health. During that 18-
year period, he Co-Founded and Co-Directed The Ob/Gyn Epidemiology Center at Brigham and Women’s
Hospital.

Dr. Harlow is an elected member of the American College of Epidemiology and an active member in the Society
for Epidemiologic Research, where he served as President Elect, President, and Past-President from 2015 and
2018. In addition, he served as a member of the Board of Scientific Counselors for Clinical Sciences and
Epidemiology of the National Cancer Institute and Chaired or participated in numerous NIH Scientific Grant
Review Study Sections. Dr. Harlow received the Gaylord W Anderson Leadership Award while at the University
of Minnesota School of Public Health and recently received the Boston University School of Public Health
Excellence in Research Mentoring award.

Dr. Harlow received his PhD in Epidemiology in 1987 from the University of Washington. For the past 35 years,
he has focused on epidemiologic research specifically in women’s cancers and other benign gynecological
disorders. With respect to research on perineal exposure to talc and risk of ovarian cancer, he either led or was
involved in publishing 4 peer-reviewed scientific articles between 1987 and 1999 and a letter to the editor in
2020 (see below). In addition, he received multiple NIH grants to lead a large prospective study of depression
and premature menopause (The Harvard Study of Moods and Cycles), and multiple NIH grants to lead studies on
the prevalence and etiology of unexplained vulvar pain. Dr. Harlow has published approximately 160 peer
reviewed scientific articles and has several currently in process or under review. He served on the editorial
board for the American Journal of Epidemiology and has reviewed manuscripts for over a dozen prestigious
journals including: JAMA, Epidemiology, Journal of the National Cancer Institute, and New England Journal of
Medicine, to name a few.

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Dr. Harlow is particularly well suited to evaluate the merits of the research on talc and ovarian cancer because of
his expertise in methods of data collection. Early in his career, he worked for Westat, Inc, an outstanding data
collection company in the Washington DC area. During that time, he developed questionnaires and managed the
data collection process for numerous large-scale epidemiologic studies for the National Cancer Institute.
Recently, he developed a graduate level course on Data Collection Methods at Boston University that educates
future public health researchers about how to collect data that can adequately capture the relevant details on
exposures that are needed to assess their associations with adverse health outcomes. He currently conducts a
Grant Writing Workshop for faculty at Boston University that focuses on developing the most scientifically
appropriate methods for data collection to address a particular research hypothesis. Finally, he teaches a course
on Guided Epidemiology Research where students identify an important public health research question,
develop the most appropriate analytic approach, carry out the analyses, interpret the findings, and then write
the results up for publication in the scientific literature.

Below are citations for Dr. Harlow’s 4 published research articles and one letter to the editor with Dr. Rothman:

Harlow BL, Weiss NS. A case-control study of borderline ovarian tumors: the influence of perineal exposure to
talc. Am J Epidemiol. 1989;130(2):390-4.
Harlow BL, Cramer DW, Bell DA, Welch WR. Perineal exposure to talc and ovarian cancer risk. Obstet Gynecol.
1992;80(1):19-26.
Harlow BL, Hartge PA. A review of perineal talc exposure and risk of ovarian cancer (Review). Regulatory
Toxicology & Pharmacology 1995;21(2):254-260
Cramer DW, Liberman RF, Titus-Ernstoff L, Welch WR, Greenberg ER, Baron JA, Harlow BL. Genital talc exposure
and risk of ovarian cancer. Int J Cancer. 1999;81(3):351-6.
Harlow BL, Murray EJ, Rothman KJ. Re: Genital Powder Use and Ovarian Cancer. JAMA. 2020;323(20):2096.
doi:10.1001/jama.2020.3858.

Dr. Harlow has never testified as an expert at trial or deposition. His compensation for preparing this
report was $600 per hour.

Kenneth J. Rothman, DrPH
Dr. Rothman is a Professor of Epidemiology at Boston University and a Distinguished Fellow Emeritus at
the Research Triangle Institute. He has authored or co-authored over 500 epidemiologic publications,
including many research studies relating to environmental epidemiology. His main career focus,
however, has been the development and teaching of epidemiologic research methods. He has
authored two epidemiology textbooks, Epidemiology – An Introduction, currently in its second edition,
and Modern Epidemiology, first published in 1986 and now in its fourth edition. Modern Epidemiology
is the leading advanced textbook in its field, used worldwide for doctoral training in epidemiology. In
addition, he was the editor of a book published in 1988 entitled Causal Inference, which focused on the
considerations that guide inferences about causal connections. Both Modern Epidemiology and Causal
Inference are cited in the Federal Judicial Center’s Reference Manual on Scientific Evidence (Third
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Edition). Dr. Rothman’s published work has been cited in the biomedical literature more than 100,000
times.

Dr. Rothman was the founding editor of the journal Epidemiology, and an Editor of the American
Journal of Epidemiology. He was also a member of the Editorial Board of two leading medical journals,
the New England Journal of Medicine and The Lancet. He is the recipient of the American College of
Epidemiology’s Lilienfeld Award for Excellence in Epidemiology, the Society for Epidemiologic
Research’s Career Accomplishment Award, the International Society for Pharmacoepidemiology’s
Sustained Service Award, and an honorary MD degree from Aarhus University in Denmark. Early in his
career, he served as President of the Society for Epidemiologic Research, the primary professional
society for research epidemiologists. This society now bestows an annual award called the Kenneth
Rothman Career Accomplishment Award.

He has written landmark papers on the topic of causation and causal inference. One paper, entitled
“Causes,” published in 1976 in the American Journal of Epidemiology, was honored as a “Classic Paper”
contribution to the epidemiology literature by the Journal in 1995. He has been an invited lecturer at
the Food and Drug Administration, the Centers for Disease Control, and many universities within the
U.S. and abroad. Over a period of 50 years, he has taught invited courses on epidemiologic study
design and analysis at various locations, including the University of Minnesota, Erasmus University,
University of Oslo, Tufts University, Massachusetts Institute of Technology, the Karolinska Institute, the
University of North Carolina, the University of Washington, Ohio State University, University of
Auckland, Teikyo University, the University of Utah, and many others.

Dr. Rothman was the author of a report in 2000 on the relation between talc and ovarian cancer that
was commissioned by talc manufacturers, and a co-author of a letter to the editor of the Journal of the
American Medical Association, with Dr. Harlow and Dr. Eleanor Murray. He has not testified on this
topic at trial or deposition. His compensation for contributing to the current report was $1000 per
hour.




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OVERALL APPROACH AND METHODOLOGY OF THIS REVIEW.

Attempts to infer whether an environmental agent is a cause of a given disease are often submitted to
a set of checklist-type conditions, such as those attributed to Austin Bradford-Hill.1 The work of several
philosophers of science, however, such as David Hume, Karl Popper, and others, have shown that there
is no checklist approach that will serve as a logical template for identifying causes. If all it took for a
valid inference about causation were to check off a list of criteria, science could follow a recipe. Any
time that an association was consistently observed between an exposure and a disease, the conditions
for causality could be checked and causal connections could be identified or rejected. Unfortunately,
despite the fact that purported lists of causal criteria have been proposed and implemented, a valid set
of such criteria does not exist. Bradford-Hill himself stated:

“What I do not believe … is that we can usefully lay down some hard-and-fast rules of evidence that must be
observed before we accept cause and effect. None of my nine viewpoints can bring indisputable evidence for or
against the cause-and-effect hypothesis and none can be required as a sine qua non.” 1

Bradford-Hill knew that the list of conditions he spoke about was riddled with exceptions that defeated
the purpose of any checklist for causation. For example, one of his criteria was strength of association,
based on the idea that strong associations tend to be causal and weak associations are likely to be non-
causal. Nonetheless, many strong associations are not causal. For example, there is a strong
association between birth rank and Down syndrome, with first-born having lowest risk and later born
babies having higher risk. This strong association is not causal; it is entirely explained by the association
between mother’s age and Down syndrome. Conversely, many associations known to be causal, such
as the association between cigarette smoking and cardiovascular disease, are weak. If strong
associations may be non-causal and weak associations may be causal, strength of association is hardly
a criterion for causal inference. Similar analysis shows that none of Bradford-Hill’s list of considerations
is a reliable criterion that separates causal from non-causal associations.

If no checklist for causal inference exists, then how does causal inference proceed? When it comes to
determining whether an observed association is causal, epidemiologists proceed by posing alternative
non-causal explanations to account for the association. An example of such an alternative explanation
would be, can chance explain the association? Or, was the association attributable to some other
factor that causes the disease and is associated with the exposure under study? Suppose we find that
there is an association between coffee drinking and cancer of the urinary bladder. One might
hypothesize that some component of coffee acts to cause bladder cancer. Alternatively, a non-causal
explanation would be that coffee consumption is greater among tobacco smokers than nonsmokers,
and that it is smoking rather than coffee drinking that causes an increase in occurrence of bladder
cancer. In fact, the latter explanation is thought to be correct. If tobacco smoking is then controlled in
the study design or the data analysis, the association between coffee drinking and bladder cancer will

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disappear and the causal theory about coffee and bladder cancer will be refuted. The point is that
epidemiologists make their inferences by pitting alternative explanations against one another. This
approach amounts to pitting non-causal theories against a causal theory. Epidemiologists ask, “Is there
some systematic error in the data from a study? Then let’s control that problem and see what
association if any remains between exposure and disease.”

Apart from chance, epidemiologists use a term to describe, collectively, the range of non-causal
explanations that compete with the idea of cause and effect. The term is ”bias.” This term has a
broader meaning in the epidemiologic context than it does in ordinary parlance. In epidemiology,
“bias” can refer to a prejudicial mindset, but it is more generally used to describe any type of
systematic error that will distort the results of a study, in either direction. Thus, many biases are the
product of errors in data, or problems with study design, or other factors that do not involve
investigator prejudices. As explained above, epidemiologic inference about causation largely involves
ways of trying to remove or to assess biases to determine whether the observed association is valid. If
no bias can be found to explain an association that is observed consistently across many studies, the
causal theory may begin to look like the most reasonable explanation for the observed association.
This process of pitting competing theories against one another better describes how causal inference
proceeds in epidemiology than does the application of checklists of supposed causal criteria.




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EXECUTIVE SUMMARY

Keeping in mind the methodology described above, we have reviewed the epidemiologic literature
regarding the possible carcinogenic effect of perineal talc exposure on the ovaries, along with relevant
information from other scientific disciplines. As mentioned, checklist approaches such as the list of
criteria taken from a talk by Bradford-Hill cannot be a dispositive method of causal inference in
empirical science. Rather, a causal hypothesis must be weighed against non-causal explanations of an
association.


Most of the epidemiologic data that exist come from older studies, but there have been recent
publications that combine these older studies into summary meta-analyses. The principal finding from
the literature is a consistent association between frequent talc use and ovarian cancer, an association
that is stronger and more consistent for the subtype of serous ovarian cancer. Some reviewers are
inclined to ascribe the association to recall bias in case-control studies, but published methodological
reviews show that recall bias typically has a negligible effect, and in our opinion, it is not plausible that
recall bias can explain away the association. We note that there is also an association between talc use
and ovarian cancer in cohort studies. Although such associations are weaker, they are expected to be
weaker because cohort studies often have worse exposure assessment for chronic exposures that vary
over time. Inaccuracies in exposure assessment typically lead to underestimates of associations.
Biologically, talc has been shown to migrate through the female reproductive tract to the fallopian
tubes and ovaries, and has been shown to contain asbestos particulates, which are known to be
carcinogenic. Those studies that were able to assess continuous use of talc over decades showed
strong associations within those populations.

Overall, the persistent association between talc use and ovarian cancer is not readily explained by any
non-causal hypothesis. It is our opinion that causation is the most reasonable explanation for the
association between perineal exposure to talc and ovarian cancer.




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SCIENTIFIC REPORT

Interest in talc exposure dates back to the 1960’s, when excess risk of ovarian cancer was observed
among female asbestos workers. Talc (platy talc and talc fibers) and asbestos are structurally similar
and occur in nature together, so the application of talc to the genital area has been an object of
research over nearly 4 decades as a possible cause of ovarian cancer. The causal hypothesis involves
the plausible mechanism that talc applied directly to the genital area or undergarments may migrate
through the cervix to the fallopian tubes and ovaries, where it has a carcinogenic effect.

In the following sections we provide a brief overview of findings from prior case-control and cohort
studies, focusing on potential biases and limitations associated with this research. We then summarize
reviews of articles published between 2018 and 2023. All are meta-analyses, critical reviews, or
commentaries on the earlier body of literature that includes dozens of case-control studies and four
cohort studies that have examined this association. It should be noted that many of the studies used in
these meta or pooled analyses overlap. As far as we know, no study involving collection of new data
related to perineal exposure to talc and ovarian cancer has been reported since 2016.



A. Case-control Studies
The majority of observational studies that have examined this association were case-control
(sometimes described, inaccurately, as retrospective studies). These studies produce estimates of the
                                                                    risk of ovarian cancer among talc
                                                                    users, relative to the risk among
                                                                    nonusers of talc. The ratio of these
                                                                    risks is termed the “risk ratio” (also
                                                                    referred to as “relative risk”). It is
                                                                    estimated by comparing women with
                                                                    and without ovarian cancer with
                                                                    respect to their previous use of talc. As
                                                                    seen in an unpublished report in 2000
                                                                    by Rothman et al., a weighted average
                                                                    of study specific relative risk estimates
from 16 earlier case-control studies yielded an estimated risk ratio of 1.31 with a narrow confidence
intervala around this estimate (Figure 1). This value, if valid, would imply a 31% greater risk for ovarian
cancer among talc users.

a
  A confidence interval defines a range of values for the measure of interest that would be considered more compatible with the data than values outside the
range, if the statistical model and all its assumptions are correct. (Greenland et al., Statistical tests, P values, confidence intervals, and power: a guide to
misinterpretations. Eur J Epidemiol (2016) 31:337–350 DOI 10.1007/s10654-016-0149-3)


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A 2008 published meta-analysis of 14 general population case-control studies reported that women
who had used talc had a risk ratio for ovarian cancer of 1.4, which is to say that they were estimated to
have a 40% greater risk for ovarian cancer than women who had not used talc. The corresponding 95%
confidence interval around the estimate ranged from 1.30 to 1.52.2 There was an unusual degree of
consistency across these 14 studies, with all but two reporting risk ratio estimates between 1 and 2.
The other two studies reported risk ratio estimates greater than 2. A more recent pooled analysis
published in 2013 of 8 studies (6 USA, 1 Australian, and 1 Canadian) as part of the Ovarian Cancer
Association Consortium (OCAC) reported that women with perineal talc exposure had a risk ratio of
1.24 for ovarian cancer (a 24% greater risk), compared with women with no talc exposure. The 95%
confidence interval around this estimate ranged from 1.15 to 1.33.3 Seven of the 8 studies reported
risk ratio estimates in the range from 1.13 to 1.36. All histological subtypes of epithelial ovarian
cancer were found to be associated with talc exposure, with the strongest association seen for women
with serous ovarian tumors.

The most recent studies that reported newly collected data were published in 2016; they confirmed
earlier findings. The first, by Cramer et al.,4 studied more than 2000 women with ovarian cancer and
compared them with a control series of 2000 women without ovarian cancer. Those reporting perineal
use of talc had a risk ratio estimate of 1.33, with a 95% confidence interval of 1.16—1.52. Women with
more than 20 years of daily genital talc exposure had a nearly 40% greater risk of ovarian cancer
relative to nonusers (OR=1.39, 95%CI 1.11-1.75). There was a clear trend of increasing risk with
increasing exposure, and a strong dose response relation with heavier and longer exposure. The
second study by Schildkraut et al.5 was among African-American women where those with talc
exposure were 44% more likely to develop ovarian cancer than those with no talc exposure, also
showing a trend of increasing risk with increasing years and frequency of exposure.

B. Cohort Studies
There are 4 cohort studies that have attempted to assess this association: The Nurses’ Health Study I
and II, The Sisters Study, and the Women’s Health Initiative.

Nurses’ Health Study: The Nurses’ Health Study comprises a pair of cohort studies of U.S. nurses who
enrolled in the study and have been followed for decades with respect to a range of outcomes. In
2000, Gertig et al. 6 reported on the nurses’ experience with ovarian cancer according to their self-
reported history of talc exposure. They found an overall multivariate adjusted risk ratio of 1.09, with a
95% CI of 0.86-1.37. They also reported an estimated risk ratio of 1.40 (95% CI 1.02--1.91) for invasive
serous ovarian tumors. The latter measure was 1.51 (95% CI 1.07--2.15) when the analysis was
restricted to women who were 45 years of age or older in 1982. This restriction served as a proxy for
identifying talc exposure that was used in earlier times and was more likely to contain greater amounts


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of asbestiform fibers. However, we have since learned that asbestiform fibers have been detected
within talc even in studies as recent as 2020, when it was reported that talcum products used by 8 out
of 10 women who developed serous ovarian cancer contained tremolite and/or anthophyllite asbestos.
7
  In addition, an analysis of Johnson and Johnson’s talcum power between 1960 and 2000 found
evidence that talc has contained asbestos and talc fibers, and the FDA tested Johnson & Johnson’s
baby powder in 2019, finding asbestos and talc fibers.b

Women’s Health Initiative: In 2013, Houghton et al.8 reported an overall risk ratio of 1.12 for ovarian
cancer among women who applied “powder” to their genital area (95% CI 0.92--1.36), compared with
women who did not apply “powder.” The multivariate adjusted hazard ratio for serous ovarian tumors
was 1.16 (95% CI 0.88--1.53). In women who applied powder to both the genital area and to their
diaphragms, the risk ratio was 1.45 (95% CI 0.95--2.23). Although we cannot determine whether “talc”
as opposed to other non-talc powders such as cornstarch were used by these participants, a possible
concern is that only women older than 50 years of age were included. Thus, about half of ovarian
cancers, those cancers that occur in women
______________________________________________________________________________________________________________
Table 1. Jeffrey T. Quirk, Nachthu Natarajan, Ovarian cancer incidence in the United States, 1992–1999, Gynecologic Oncology, Volume
97, Issue 2, 2005, Pages 519-523. 9




less than 50 years of age, would have been missed (See table above). Women over age 50 are less
likely to have a patent genital tract, which makes the true talc exposure more difficult to quantify. This
problem would result in nondifferential misclassification of actual exposure and likely underestimation
of any effect.




b
  Amended Expert Report of William E. Longo, PhD and Mark W. Rigler, PhD (February 2, 2019) (finding that 68% of the samples tested contained
amphibole asbestos and 98% contained fibrous talc or talc fibers); Exhibit 28, Hopkins Dep. (Aug. 16 & 17, 2018; Oct. 26, 2018); AMA Analytical Serv.,
Certificate of Analysis (Oct. 3, 2019) (FDA commissioned testing finding chrysotile asbestos and talc fibers).

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Sisters Study: In 2016, Gonzalez et al.10 reported a hazard ratio of 0.73 for ovarian cancer occurring
after use of talc 12 months before enrollment (95% CI 0.44--1.2), in a cohort study of women whose
sisters had developed breast cancer, and were therefore at higher risk themselves for ovarian cancer
than most women.10 These results, showing a negative association between talc and ovarian cancer,
are anomalous. We note that the measured exposure to talc only included exposure within the past 12
months, whereas most research in this area indicates that it is long-term use of talc that is associated
with the greatest risk.

C. Recent Meta Analyses and Commentaries published between 2018 and 2023 (in chronological
order by year)

1) Berge, Mundt, Luu, and Boffetta, 2017 11 - The authors carried out a meta-analysis based on the
Preferred Reporting items for Scientific Review and selected 24 case-control studies, 3 cohort studies,
and one pooled analysis of 8 of the 24 case control studies. The pooled relative risk estimate from all
27 studies for any genital talc use was 1.22 (95%CI 1.13-1.30). Although the authors state that they
“identified a small but statistically significant association between genital talc use and risk of ovarian
cancer”, they state that it was largely limited to serous ovarian tumors and that the “heterogeneity of
results between case control studies and cohort studies do not support a causal interpretation of the
association.”

There are many dubious statements and analytic assessments of the data throughout this manuscript;
we will try to point out the most pertinent. First, the authors present results that are consistent with
other meta analyses showing that perineal talc exposure was associated with a 20-30 percent greater
risk of ovarian cancer. The authors put greater weight on the cohort studies, stating that the reason for
the smaller effect estimates in cohort studies cannot be explained by power: “low power of cohort
studies cannot be invoked as explanation of the heterogeneity of results.” Yet, there is no discussion of
the limitation of exposure assessments in cohort studies, which we discussed above.

The authors also state: “The fact that the association between genital talc use and risk of ovarian
cancer is present in case–control, but not in cohort studies, can be attributed to bias in the former type
of studies” and they cite Dr. Rothman’s 3rd edition of Modern Epidemiology, published in 2008.
Presumably the authors are referring to recall bias, which is a possibility in some case-control studies
but not in cohort studies. However, no evidence is offered that recall bias is actually present in the
case-control studies. Although it is often assumed that case-control interview-based studies will be
affected by recall bias, the magnitude of error from this mechanism has not often been examined.
When it has been examined, the evidence shows that it is not an important concern. For example,
Drews et al. 12 showed that for a large number of recalled variables, there was negligible bias when the
recall of parents of children who succumbed to sudden infant death syndrome was compared with the


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recall of parents whose children had not suffered this outcome. In another evaluation of recall bias,
Paganini-Hill and Ross 13 found little error in recall comparing women with breast cancer with controls
in recalling past medication use and medical history: “There was no evidence on Interview of cases
preferentially recalling more drug use or past diseases than controls.” Furthermore, Drews and
Greenland 14 showed that, even with differential recall, the effect on the magnitude of association in a
study is often mathematically negligible: “under many circumstances recall bias may have limited
impact on study validity.” 14 Thus, despite commonly expressed concern about recall bias, it is far from
established that it is an important concern in any but a few case-control studies. We note that Berge et
al. do not offer any evidence that recall bias actually poses a problem in these talc case-control studies.

From a biological perspective, the authors state “talcum powders for domestic use in the USA have
been virtually asbestos free since the 1970s.” and cite a reference from 1976. Berge et al. published
their paper in 2017. As described above in the discussion of the Nurse’s Health Study, analyses of J&J
talcum powder from the 1960s to 2019 have demonstrated the presence of asbestiform fibers
(asbestos and talc) in USA talc products. Another paper, published in 2020, found that 10 women
diagnosed with serous ovarian cancer who had documented use of J&J cosmetic talcum powder all had
talc and 8 of the 10 had asbestos in samples of their ovarian tissue.7

2) Penninkilampi and Eslick, 201815 - These authors conducted a systematic review using the PRISMA
guidelines for meta-analysis: ”Preferred Reporting Items for Systematic review and Meta-Analyses.” A
summary of the 27 studies included showed a 24 to 39 percent excess risk of ovarian cancer associated
with perineal exposure to talc. The authors stated that the 25% greater risk of serous ovarian cancer
observed in the 3 cohort studies provided evidence that offset the concern related to recall bias
potential in the case-control studies.

3) Goodman et al., 2020:16 These authors published a critical review of the talc and ovarian cancer
literature and concluded that the evidence across all scientific disciplines does not support a causal
association. We believe that many statements in this review are inaccurate. We summarize a few of
them here:

Statement 1: “Some case control studies and meta-analyses reported associations, while other case
control investigations, and three large prospective studies, and a pooled analysis of cohort
investigations found this association to be null.”

Of the 33 studies presented by the authors, they highlighted 18 that they deemed “statistically
significant” for either any use or perineal application of talc. However, only two of the 15 remaining
studies showed risk ratio estimates of 1.0 or lower. The other 13 studies reported risk ratio estimates
in the range of 1.2 to 2.5. As discussed above, there are substantial scientific biases that can affect

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cohort studies that the reviewers failed to integrate into their assessment. As shown throughout this
report, most meta-analyses support associations with point estimates and confidence intervals that are
highly compatible with harmful effects.

Statement 2: “In summary, the prospective cohort studies consistently reported a null association
…..talc exposure was not associated with increased risks of any subtypes of ovarian cancer, and
associations did not appear to vary by subtype.”

This statement ignores the finding from The Nurses’ Health Study, which reported a risk ratio of 1.4
(95% CI 1.02--1.91) for serous ovarian tumors, which comprise the large majority of invasive ovarian
cancers. The estimate of 1.4 is consistent with the magnitude of the association observed across the
majority of all epidemiologic studies.

Statement 3: “Our analysis of the epidemiology studies indicates that there is a small, increased
association observed between perineal talc and ovarian cancer in some case control studies. In
contrast, in meta-analyses, despite the above observations, there is no consistent finding of a positive
exposure-response relationship.”

The authors of this review specifically discuss the pooled analysis of 8 studies from the Ovarian Cancer
Association Consortium.3 That analysis found an overall estimated risk ratio for any talc use of 1.24
(95% CI 1.15--1.33); furthermore, the authors stated that for genital talc application “most studies
demonstrat(ed) significant elevated risks”.

Statement 4: “A striking feature of the body of epidemiology evidence regarding talc and ovarian
cancer is the difference in results reported between case-control and cohort studies.”

In our view, the case-control and cohort study results show reasonable consistency, especially if one
focuses on the reported findings that are most scientifically relevant to this research question. As
mentioned above, the WHI and the Sisters Study had problematic exposure assessments for talc. The
NHS collected information about talc exposure only during the first NHS study, using their 1982
questionnaire, and reported an overall multivariate adjusted risk ratio of 1.09 (95%CI 0.86-1.37), a risk
ratio of 1.40 (95%CI 1.02-1,91) for invasive serous ovarian tumors, and a risk ratio of 1.51 (95%CI 1.07-
2.15) when restricted to women 45 years of age or older in 1982.

Furthermore, this statement carries an implication that cohort studies and case-control studies should
reach identical results, and if they do not, the cohort studies automatically have greater validity, based
on the presumption that case-control study results are less reliable than the cohort study results. We
disagree with this implied premise. In many circumstances, case-control studies may offer greater


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validity than cohort studies. Cohort studies are not well suited to assess associations between
exposures and outcomes that span long periods of time, unless an exposed cohort can be followed
continuously for that long period and the exposure information updated, which is often impractical or
impossible. Case-control studies, in contrast, can readily assess associations that span many years or
decades. For example, a single case-control study of adenocarcinoma of the vagina, with only 8 cases
and 32 controls, sufficed to demonstrate beyond any doubt that exposure to diethylstilbestrol in utero
caused the development of vaginal cancer when the exposed female fetuses became adults.17 If the
research question involves the action of a cause over a period of a decade or many decades, as appears
to be the case for talc and ovarian cancer, we would expect case-control studies and cohort studies to
differ in their ability to measure these associations. Our expectation, however, is that there would be
less bias in the case-control studies, if they are properly conducted, than in cohort studies. In our
opinion, most of the cohort studies that have addressed the talc and ovarian cancer association failed
to assess talc exposure adequately across the life-course, with a consequent bias that likely leads to
underestimation of the talc-ovarian cancer relationship.

4) O’Brien et al., 2020-18 These investigators pooled the NHS I and II, the WHI, and the Sisters Study to
assess the pooled estimate of ovarian cancer risk in relation to perineal exposure to talc among the
published cohort studies. This analysis therefore incorporates the biases we have mentioned in our
description of the cohort studies above. Nonetheless, even with these biases, which would
underestimate the association, the pooled analysis showed an adjusted hazard ratio (HR)c of 1.13 (95%
CI 1.01--1.26) for ever use of talc in those with a patent genital tract. The authors concluded that
“there was not a statistically significant association between self-reported use of powder in the genital
area and incidence ovarian cancer.” In a letter to the editor after publication,19 Harlow et al. noted that
the HR of 1.13 was actually greater than the estimated 10% increased risk shown among those with an
intact genital tract who reported 10,000 or more applications across their lifetime.20 In their response,
O’Brien et al. agreed that “our results, particularly the analysis limited to women with intact genital
tracts, should not be discounted because of lack of statistical significance”. Considering the exposure
misclassification issues present in the cohort studies and likely underestimation of effect, this pooled
result of 1.13 is reasonably compatible with the results from the case-control studies.

5) Taher et al 2020 21 – The authors conducted a meta-analysis using 24 case control studies and 3
cohort studies. They reported a pooled overall relative risk estimate of 1.28 (95%CI 1.20--1.37),
indicating comparability with other pooled analyses. As seen in other meta analyses, relative risk
estimates in the cohort studies were lower. In this analysis, the author assessed frequency of talc use
based on three groups: high (once daily for >25 days/month), medium (once daily for 10–25
days/month) and low (once daily for 1–<10 days/month). The OR for the high-use group was greater
(OR=1.39, 95%CI 1.22-1.58) than that for the other two groups (OR=1.22, 95%CI 1.0-1.5). Although the

c
    A hazard ratio is an epidemiologic measure that for practical purposes may be considered equivalent to a risk ratio.

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trend with number of years of use was not substantially different, the authors did not take into
account frequency of use and length of use simultaneously in their analyses. A cumulative measure
that combines both might be even more informative. Nonetheless, the authors conclude: “Consistent
with a previous evaluation by the IARC in 2010, the present evaluation of all currently available relevant
data indicates that perineal exposure to talc powder is a possible cause of ovarian cancer in humans.”

6) Davis et al 2021 22 – The authors pooled all studies of ovarian cancer that had at least 40 cases of
ovarian cancer in African American (AA) women from the Ovarian Cancer of Women of African
American Ancestry pool of case-control studies. Analyses included 620 cases of ovarian cancer in AA
women and 2800 cases in white women. The authors found an association consistent with that
observed in most case-control studies, with 20-40 percent excess risk estimates present in both AA and
white women. They also observed little difference in risk by histologic subtype. Their analysis of a
possible dose-response relation was limited to those who used talc <1 time/week compared with those
who used talc >1 time/week). They concluded that “there was not a dose–response relationship
between frequency or duration of genital powder use”. Their dose-response analysis did not combine
frequency with duration of use to get a cumulative exposure measure. The authors concluded while
the prevalence of ever use of genital body powder was higher among AA women in the OCWAA
consortium, the association between genital powder use and ovarian cancer risk was similar among AA
and White women. We note that there is no reason to think that a smaller or greater prevalence of
exposure would change the magnitude of the effect of the exposure, so the conclusion should not be
considered surprising.

7) Health Canada Screening Assessment of Talc – 2021d
This report was issued by the Offices of the Minister of the Environment and the Minister of Health in
Canada. Upon their review of the literature pertaining to perineal exposure of talc and ovarian cancer,
they concluded that “the data are indicative of a causal effect.” Although not published in a scientific
journal, this public-health assessment was critically reviewed by scientists within the Canadian
government and others within Canada with expertise in this area.




d
    Screening Assessment; Talc. Government of Canada. April 2021

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8) Woolen et al., 2022-23 These authors conducted a meta-analysis based upon the Meta-analyses of
Observational Studies (MOOSE) reporting guidelines. There were eleven studies that met the stringent
                                                                           quality assessment of
                                                                           frequent talc exposure
                                                                           (10 case control, 1 cohort
                                                                           study). Three of the four
                                                                           cohort studies did not
                                                                           meet the exposure
                                                                           assessment criteria. The
                                                                           pooled risk ratio for the
                                                                           association with frequent
                                                                           talc exposure was 1.47
                                                                           (95% CI 1.31--1.65) as
                                                                           shown here.

                                                                                9) Micha, Rettenmaier,
                                           24
Bohart, and Goldstein Commentary 2022 – These authors published a commentary questioning the
evidence for a talc and ovarian cancer association. The authors state that “perineal application of talc
does not conclusively render vaginal or cervical permeation, much less ovarian infiltration.” In fact,
multiple studies have now shown the presence of talc in both fallopian tubes and ovarian tissue. The
authors state “there have been rare, histopathologic cases of talc identified in the lymph nodes, cervix
and uterine corpus and fallopian tubes.” In our discussion below regarding the biological plausibility of
an association, we cite a paper by McDonald et al. 25 in 2019 specifically showing talc particulates in
many of these anatomical areas.

The authors state: “While several case control studies have suggested a relationship between talc
powder and the incidence of ovarian cancer, numerous epidemiological studies have refuted any such
association.” It appears that the authors are equating refutation with a lack of statistical significance,
which is a well-understood fallacy. Refuting an association requires a confidence interval that is narrow
and is near the null value, which is a condition that none of the studies meet. One need only review the
summaries of these studies that we have described above to see that this statement is indefensible.

The authors also state that in case-control studies “both prior and subsequent talc exposure to a cancer
diagnosis was assessed, thereby confounding the rates between case and control study subjects.”
Though they described this as a confounding issue, it is not one of confounding but instead an issue of
exposure misclassification. Furthermore, contrary to their implication, in the recent study by Cramer et
al. 4, and in the earlier study by Harlow et al. 20, exposure to talc was only assessed before first



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diagnosis of ovarian cancer in cases, and a matched reference age in controls, to ensure both
temporality and comparability of exposure assessment.

The authors go on to cite the findings from the cohort studies, which we have already addressed
above.

10) Lynch et al., 2023 26 – The authors ranked studies according to USA EPA designated five
methodological domains (participation, exposure assessment, outcome assessment, confounding
control, and analytic approach). In the figure below, virtually all studies showed risk ratio estimates
above 1.0.




D. National Cancer Institute, Physician Data Query (PDQ)

The PDQ cancer information summaries are peer-reviewed, evidence-based summaries on topics
including adult and pediatric cancer treatment, supportive and palliative care, screening, prevention,

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genetics, and complementary and alternative medicine. The review is done by an outside committee
appointed by the NCI. These PDQ cancer information summaries are updated periodically. The
association between Talc and Ovarian Cancer has been addressed consistently over the past 20 years.
In 2013, the PDQ summary labeled talc exposure as a “Factor with adequate evidence of increased risk
of ovarian cancer.” The statement indicated: “Based on solid evidence, perineal application of talc is
associated with a small increased risk of ovarian cancer. The IARC has concluded that perineal talc is a
possible carcinogen.” However, a few years later, in 2016, and in each subsequent report up to the
present, the PDQ drew a different conclusion, as illustrated in their most recent 2023 summary of the
scientific evidence: “Results from case-control and cohort studies are inconsistent, so the data are
inadequate to support an association between perineal talc exposure and an increased risk of ovarian
cancer.”

In our review above, we have discussed the recall bias issue and the exposure assessment deficiencies
observed in the cohort studies. The one cohort study that had the most appropriate exposure
assessment reported findings similar to those of the case-control studies.6 In this recent PDQ report,
the authors stated that the study with the strongest association between talc and ovarian cancer
reviewed by Woolen et al. was a “highly selected subset analysis.” In fact, this was the Nurses’ Health
Study, and it was selected by Woolen et al. based on the review of the actual data collected showing
that adequate exposure assessment was performed. As we have pointed out, the other cohort studies
suffered from both selection bias of participants and inadequate assessment of talc exposure. The
PDQ committee indicated that the finding of a 1.47 pooled risk ratio estimate (95%CI 1.31-1.65) for
“frequent” use of talc, cited by Woolen et al., “was inconsistent with the main findings.” The meaning
of this statement is unclear, but the PDQ committee goes on to cite the Gertig et al. analysis
(incorrectly cited in the PDQ report as O’Brien et al) that reported a multivariate adjusted relative risk
for any perineal talc use of 1.09 (95%CI 0.86-1.37). However, they fail to mention the finding of a risk
ratio estimate of 1.26 (95%CI 0.94-1.69) for any serous tumor, and a finding of 1.4 (95%CI 1.02-1.91)
for invasive serous tumors. In addition, they failed to mention that when Gertig et al. restricted the
analysis to women 45 years of age or older in 1982, the relative risk for invasive serous tumors was
1.51 (95%CI 1.07-2.15). In the next section below, we discuss the assumptions being made about the
superiority of cohort studies over case-control studies and how cohort studies can spuriously
underreport true associations.

E. Addressing skepticism related to this research

There are many concerns that have been raised related to the quality of the studies published and the
biological rationale for such an association. Below, we address narratives used to refute these findings.

1. Recall bias can easily explain the associations

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Recall bias is a concern when the health outcome influences the recall of particular antecedent
exposures of interest. This is most relevant in interview-based case-control studies where there is
concern that study participants with the disease or adverse health outcome will either under- or over-
report an exposure due to the influence of knowing that they have the outcome being studied. First, as
described above, when recall bias has been measured in various settings, it has often been shown to
be inconsequential 12-14. Furthermore, even when there is differential recall, its effect on the observed
association may be minor. 14 In addition, errors in exposure categorization can and do occur in cohort
studies, many of which involve interviews or questionnaires requiring recall of past events. If such
errors occur before the study outcome occurs, the errors will not depend on knowledge of the
outcome and will typically lead to underestimation of the association. These errors will tend to bias
cohort study results toward the value of no effect, a bias opposite to that presumed to occur from
recall bias in case-control studies. In our opinion, daily use of talc over long periods or decades is
unlikely to be recalled inaccurately. It was this type of use, daily over many years, that was reported to
be most strongly associated with ovarian cancer.4,20

2. Case-control studies are inferior to cohort studies
Dr. Rothman has written on this research misconception:

“Discrepancies between cohort studies and case–control studies should not be explained away
superficially by a presumed validity advantage for cohort studies over case–control studies. Properly
designed case–control studies will produce the same results as properly designed cohort studies. When
conflicts arise, they could stem from problems in either or both types of study. Although case–control
studies have long been disparaged as being backwards versions of cohort studies, starting from disease
and tracing back to possible causes, epidemiologists today understand case–control studies to be
conceptually identical to cohort studies, apart from an efficiency gain that comes from sampling the
denominators rather than conducting a complete census. Indeed, the efficiency gain may allow more
resources for exposure assessment or case validation in case–control studies, resulting in less bias than
in corresponding cohort studies of the same relation.” 27

In short, both cohort and case-control studies will yield valid results when properly conducted. When
the outcome of interest is relatively rare, as for most cancers, the case-control study is more efficient,
and as mentioned above, may be a better tool for studying exposure-disease connections that bridge
long time spans. As we have shown, the findings from the Nurses’ Health Study are comparable with
those observed in the multiple case-control studies. The exposure assessment issues in the Women’s
Health Initiative and the Sisters study may explain why their results diverge from the other studies.

3. Only statistically significant associations provide evidence of a causal effect.



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A consensus is slowly building among scientists that statistical significance testing has been a source of
many errors in interpretation, and should be avoided. There is a considerable literature addressing this
issue. One recent commentary in Nature by Amrhein, Greenland and McShane, and endorsed by 800
signatories28, stated:
“We should never conclude there is ‘no difference’ or ‘no association’ just because a P value is larger
than a threshold such as 0.05 or, equivalently, because a confidence interval includes zero. Neither
should we conclude that two studies conflict because one had a statistically significant result and the
other did not. These errors waste research efforts and misinform policy decisions.”

Thus, if a lower 95% confidence interval for a risk ratio is 0.99 in one study, and 1.01 in another study,
that is no basis for reaching a different interpretation for the findings. Statistical significance testing
should be avoided, and confidence intervals should be interpreted as general indicators of the
magnitude of the effect size.

The consensus statement from the American Statistical Association mentioned above states:
“A p-value, or statistical significance, does not measure the size of an effect or the importance of a
result…. By itself, a p-value does not provide a good measure of evidence regarding a model or
hypothesis…. Scientific conclusions and business or policy decisions should not be based only on
whether a p-value passes a specific threshold.”

4. There is a lack of evidence regarding the biological plausibility of talc-induced carcinogenesis.
Documenting the presence of talc particulates in the fallopian tubes and ovaries would be necessary to
show the migration of these particulates through the genital tract. In earlier studies that documented
the presence of talc in ovarian tissue, there was skepticism that the potential for talc contamination via
surgical procedures may have explained the findings. However, a recent study by McDonald et al. 25
used polarized light microscopy and in-situ scanning electronic microscopy (SEM) with energy-
dispersive x-ray analysis (EDX) to differentiate particulates that may be due to contamination. Five
women with documented perineal talc exposure and ovarian cancer all showed pelvic migration of talc
particulates and the existence of morphologically demonstrated talc in multiple pelvic organ sites,
including pelvic tissues and lymph nodes. None was found in the negative exposure controls.

Recent studies have also suggested that the formation of cancer in the ovaries could be seeded from a
primary tumor in the fallopian tubes involving changes in key genes such as TP53, PTEN, and BRCA1 or
BRCA2. 29 Thus, the migration of talc may not need to travel into the ovaries to have a carcinogenic
effect. Although the exact pathogenic mechanism by which talc may incur carcinogenesis is unknown,
plausible mechanisms may involve inflammation.
E. Summary


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Considering the preponderance of evidence, including

       a) similar findings across dozens of studies;
       b) after controlling for known risk and protective factors for ovarian cancer, evidence of a trend
       of increasing risk of ovarian cancer with increasing talc applications, especially when the vaginal
       tract is open to the ovaries; and
       c) the presence of talc particulates within ovarian biopsied tissue;

it appears to us that the most plausible interpretation of the existing data is that women exposed to
talc for a long period of time are at greater risk of developing ovarian cancer than women who were
never exposed, as a result of their talc exposure. Although the evidence continues to accumulate, the
risk of ovarian cancer as a consequence of perineal exposure to talc has been suspected for over 40
years. Over 30 years ago, in a 1992 publication, Dr. Harlow wrote that approximately 10% of the
incidence of ovarian cancer in the U.S. may be attributable to this exposure. He also recommended
then that given the poor prognosis for ovarian cancer, potentially harmful exposures with limited
benefits should be avoided. Since then, the evidence for an association between perineal talc
exposure and ovarian cancer has increased. During these decades, an application of the Precautionary
Principle would seem to have been justified; this principle is described as “a common sense rule for
doing good by preventing harm to public health by delay: when in doubt about the presence of a
hazard, there should be no doubt about its prevention or removal.” 30

We believe that none of the non-causal explanations can account adequately for the consistent
positive association across so many studies. Unfortunately, few studies were able to assess data
pertaining to women with extreme exposure, such as those who applied talc directly to their perineum
every day for decades. Nonetheless, the consistency of the overall results, combined with biological
plausibility that talc acts, similarly to asbestos, as a carcinogen, persuades us that the use of talcum
powder products can cause epithelial ovarian cancer in women who use it for feminine hygiene. Based
on our review of the scientific and medical literature, it is our opinion that talcum powder products,
including Johnson’s Baby Powder and Shower to Shower, applied to the genital area of women, can
cause ovarian cancer.

However, we reserve the right to amend this report should additional information become available or
provided to us, and to review and comment on other legal expert reports.




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                             EXHIBIT A
         Curriculum Vitae of Bernard Harlow, PhD
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                                       CURRICULUM VITAE

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  1989-1996       Assistant Professor of Obstetrics, Gynecology and Reproductive Biology, Harvard
                  Medical School, Boston, MA

  1990-2005       Co-Director, Obstetrics and Gynecology Epidemiology Center, Brigham and
                  Women’s Hospital, Boston, MA

  1996-2005       Associate Professor of Obstetrics, Gynecology and Reproductive Biology, Harvard
                  Medical School, Boston, MA

  1999-2005       Associate Professor in the Department of Epidemiology, Harvard School of Public
                  Health, Boston, MA

  2005-2015       Mayo Professor, Division of Epidemiology and Community Health, University of
                  Minnesota, Minneapolis, MN

  2005-2014       Chair, Division of Epidemiology and Community Health, University of Minnesota,
                  Minneapolis, MN



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  2005-2014      Adjunct Professor of Epidemiology, Harvard School of Public Health, Boston, MA

  2006-2015      Adjunct Associate Professor, Department of Obstetrics, Gynecology and women’s
                 Health, University of Minnesota Medical School

  2012-2015      Research Director, Building Interdisciplinary Research Careers in Women’s Health
                 (BIRWCH)

  2013-2015      Associate Director, Populations and Community Engagement, Clinical and
                 Translational Science Institute, University of Minnesota

  2015-Present   Professor of Epidemiology. Boston University School of Public Health

  2015-Present   Adjunct Mayo Professor, Division of Epidemiology and Community Health,
                 University of Minnesota, Minneapolis, MN

Honors and Awards:

  2003           Nominated for Mary Horrigan Connors Award for Outstanding Leadership in
                 Women's Health, Brigham and Women's Hospital / Harvard Medical School

  2004           Nominated for Mary Horrigan Connors Award for Outstanding Leadership in
                 Women's Health, Brigham and Women's Hospital / Harvard Medical School

  2005           Mayo Professor of Public Health, University of Minnesota School of Public Health

  2011           Gaylord W. Anderson Leadership Award, University of Minnesota School of Public
                 Health

  2015-18        President-elect, President, Past-President, Society for Epidemiologic Research

  2020           BUSPH Excellence in Research Mentoring Award

Governmental and External Committee Assignments

  1999           Cancer Prevention Research Centers Grant Review Committee, Member, Center for
                  Disease Control

  2001           2001 Cancer Conference Planning Committee, Member, Center for Disease Control

  2002-2005      Human Subjects Research Committee, Member, Brigham and Women's Hospital

  2002-2005      Women’s Health Advisory Council, Member, Pharmaceutical Industry Trade
                 Organization

  2002-2005      Education and Research Development Committee, Member, Brigham and Women's
                  Hospital



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2002           Cancer Prevention Research Centers Grant Review Committee, Member, Center for
                Disease Control

2004-2005      Expanding the Boundaries Funding Committee, Department of Obstet Gynecol,
               Member, Brigham and Women's Hospital

2004-Present   Scientific Advisory Board, Member, National Vulvodynia Association

2004           Quadrennial Site Visit Evaluation Committee for NICHD, Member, National
               Institutes of Health

2005           NIH-CSR Reproductive Epidemiology Study Section, Member, National Institutes of
               Health

2005-2006      Advisory Board of Connors Center for Women’s Health & Gender Biology, Member,
               Brigham and Women's Hospital

2005           Special Emphasis Panel, Reproductive Health Research, Member, Center for Disease
               Control

2005-2006      Institute of Medicine National Research Council Committee on Assessing the
               Medical Risks of Human Oocyte Donation for Stem Cell Research

2006           NIH Infectious Disease, Reproductive Health, Asthma and Pulmonary (IRAP)
               Conditions Study Section

2008           Nominated as permanent member: NIH Infectious Disease, Reproductive Health,
               Asthma and Pulmonary (IRAP) Conditions Study Section

2009-2014      Member of the Board of Scientific Counselors for Clinical Sciences and
               Epidemiology of the National Cancer Institute

2011-2013      Chair, NIH Infectious Disease, Reproductive Health, Asthma and Pulmonary (IRAP)
               Conditions Study Section

2012-present   External Advisory Board, Boston Center for Endometriosis (BCE)

2014           External Advisory Committee, Department of Epidemiology, Brown University

2015 (Nov)     NIH-CSR– Chair, Ad-Hoc Study Section to review IRAP Study Section member
               grants.

2016 (July)    NIH-CSR – ECHO Data Coordinating Center Reviewer

2019 (Feb)     NIH – IRAP – Study Section Reviewer Grant Proposal Reviewer

2019 (June)    NIH-CSR – CKD- Coordinating Center Reviewer



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   2023 (Nov)     National Academies of Sciences, Engineering, and Medicine – Committee on
                  Frameworks for the Consideration of Chronic Debilitating Conditions in Women.



University of Minnesota Committee Assignments

   2006           Investigative Advisory Board for the National Children’s Study: Ramsey Location
                  being conducted by the University of Minnesota’s School of Public Health

   2006-2007      Chair, Search Committee for Head, Division of Biostatistics, School of Public Health,
                  University of Minnesota

   2007           Co-Chair, Search Committee for Health, Policy and Management Division Head,
                  School of Public Health, University of Minnesota

   2008           Search Committee: Chair of Department of Medicine, University of Minnesota
                  Medical School

   2008           Review Committee for the 2008 Academic Health Center Translational Research
                  Grants

   2009           Search Committee for the Academic Health Center Vice President for Research

   1999-2005      Teaching commendations, Committee on Educational Policy, Harvard School of
                  Public Health

Boston University Committee Assignments

   2015-Present Member: BU Clinical and Translational Science Institute’s Strategic Executive
                Committee.

   2015-2016      Co-Chair: Biostatistics, Epidemiology, Design and Analysis Center (BEDAC)
                  Planning Committee.

   2016-Present   DrPH Admissions and Monitoring Committee

   2016           BU-CTSI Pilot Review Committee

   2016-2017      Member, University Committee on Academic Program Review of BU

   2016-2017      Member, MPH Admissions Committee

   2018-2019      Co-Director, MS Degree Program in Epidemiology

   2019-Present   Co-Director, MPH Epidemiology/Biostatistics Certificate Program

   2020           BU-CTSI Pilot Review Committee

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Editorial Service

   1988-            Reviewer, Preventive Medicine
   1992-            Reviewer, Epidemiology
   1992-            Reviewer, Fertility & Sterility
   1993-            Reviewer, American Journal of Public Health
   1994-            Reviewer, American Journal of Obstetrics and Gynecology
   1994-            Reviewer, Obstetrics and Gynecology
   1995-            Reviewer, Journal of the National Cancer Institute
   1995-            Reviewer, New England Journal of Medicine
   1997-            Associate Editor, American Journal of Epidemiology
   1998-            Reviewer, Maturitas
   2000-            Reviewer, Paediatric & Perinatal Epidemiology
   2002-            Reviewer, Journal of Epidemiology and Community Health
   2002-            Reviewer, American Journal of Psychiatry
   2002-            Reviewer, Archives of General Psychiatry
   2003-            Reviewer, Obesity Research
   2005-            Journal of Women’s Health
   2016-            British Journal of Gynecology and Obstetrics (BJOG)
   2016-2017        Editor, Special 50th Anniversary Issue, American Journal of Epidemiology
   2018-            Reviewer, Journal of Urology
   2018-            Journal of the American Medical Association

Professional Societies:

   1981-            Society for Epidemiologic Research, Member
   1995-            American Public Health Association, Member
   1997-            American College of Epidemiology, Peer-reviewed Fellow
   2003-            International Society for the Study of Vulvovaginal Diseases, Peer-reviewed Fellow
   2010-2013        Elected, Member-at-Large on Board of Directors of the Society for Epidemiological
                    Research
   2013-            American Epidemiological Society, elected to membership
   2015-2017        President-Elect, President, Past President, Society for Epidemiological Research
   2020-            Society for Perinatal Epidemiologic Research

B. Funding Information

Past

    1987-1992       Project Director, N.I.H., NICHD/U01, Ultrasound screening in pregnancy

    1989-1993       Co-P.I., N.I.H., NICHD/R01, Epidemiologic and biologic correlates of premature
                    menopause;

    1992-1993       Investigator, American Institute for Cancer Research, Galactose consumption and
                    metabolism in familial ovarian cancer

    1992-1997       Investigator, N.I.H., NCI/R01 , Ovarian cancer risk and hypergonadotropic
                    hypogonadism

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 1994-1995    P.I., Milton Fund, Dietary Factors and Hyperemesis Gravidarum

 1994-1998    Co-P.I., N.I.H., NICHD/R01, Epidemiologic and biologic predictors of IVF success

 1995-2000    P.I., N.I.H., R01-HD50013, Depression and Hypogonadism

 1998-2000    Project Director, N.I.H., NIMH/R01, Epidemiology of Ovarian Function in relation to
              violence

 1998-2000    P.I., Partners Women's Cancer Collaborative Research, Pathogenesis and Prevention
              of Cervical Cancer

 1998-2002    Investigator, N.I.H., R01-HD, Epidemiologic and biologic predictors of IVF success

 1998-2003    Investigator, N.I.H., R01-CA, Ovarian cancer risk and hypergonadotropic
              hypogonadism

 1999-2003    P.I. (Subcontract), N.I.H., R01-MH, Relapse of Depression during Pregnancy and
              Puerperum

 2000-2005    P.I., N.I.H., R01-HD, Prevalence and etiological predictors of vulvodynia

 2003-2005    P.I., National Alliance for Research on Schizophrenia and Depression, Postpartum
              psychosis in women with prior psychiatric hospitalizations

 2003-2006    P.I. (Subcontract), N.I.H., R01-MH, Predictors of antenatal and postpartum
              depression

 2003-2008    P.I. (Subcontract), N.I.H., R01-MH, Risk and Predictors of Postpartum Depression

 2004-2006    P.I. N.I.H., R01-HD, Risk for new onset of depression in perimenopausal women

 2006- 2009   P.I. (Subcontract) N.I.H., R01-HD, Risk for new onset of depression in
              perimenopausal women

 2007-2008    P.I. University of Minnesota, Office of International Programs, Interdisciplinary and
              Intercultural Public Health and Medical Program in Ecuador

 2008-2009    P.I. University of Minnesota, Office of International Programs, Interdisciplinary and
              Intercultural Public Health and Medical Program in Ecuador

 2009-2014    P.I. N.I.H., R01-HD058608-01A1, Immunological Factors and Risk of Vulvodynia

 2012-2017    Co-I (Raymond PI) University of Minnesota Building Inter-Disciplinary Careers in
              Women’s Health Program (BIRWCH). Direct Costs: $462,956.

 2011-2015    Co-I (Blazer PI) NIH-NCATS UL1TR000114, University of Minnesota Clinical and
              Translational Sciences Award. Direct Costs: $34,855,966


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   2016-2017   P.I. – NIH-NCATS - 1 R13 TR002021-01 – SER Doctoral Student Workshop.
               Direct Costs: $18,000

   2017-2018   P.I. – NIH-NCATS - 1 R13 TR002021-02 – SER Doctoral Student Workshop.
               Direct Costs: $28,000

   2017-2018   Co-PI National Vulvodynia Association – Molecular Microbial Markers and
               Vulvodynia
               Direct Costs: $20,000

   2017-2018   P.I. – Neonatal exposures and subsequent risk of vulvodynia – A lifecourse analysis
               for exploring immune dysfunction
               Direct Costs: $20,000

  2019-2020    P.I. – BUSPH Pilot Grant - Vulvar Pain Assessment Questionnaire (VPAQ) –
               Feasibility Assessment within a College Student Population.
               Direct Costs: $20,000

  2020-2021    P.I. – BUSPH Pilot Grant - Boston STRONG (Study to Tackle Risks Of
               iNcontinence post-Gestation) – Feasibility Assessment Within a Pregnant and
               Postpartum Population.
               Direct Costs: $15,000 (in conjunction with $15,000 from BMC)


   Current

   2020-2025   P.I. NIH 1-U24 DK106786-06, Prevention of Lower Urinary Tract Symptoms in
               Women: Bladder Health Scientific and Data Coordinating Center (PLUS-SDCC)
               Direct Costs: $2,000,000

  2017-2022    PI-Subcontract (Robinson PI) NIH-NICHD 1-R01 HD - Sexual pain and genital
               cutting among Somali women in Minnesota
               Direct Costs: $46,812

  2020-2022    P.I. – NIH-R21 HD099533-01: Risk of vulvodynia due to immune-related health
               events throughout the life course
               Direct Costs: $229,720

Pending

  2023-2025    MPI – NIH-R21 HD111728-01: A North American preconception cohort study of the
               vaginal microbiome, subfertility, and miscarriage
               Direct Costs: $229,720


Teaching:

Year           Class Title                                                        # of Students
 1990          Resident and Fellow Independent Mentorship                                  5

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1999-2005        HSPH-EPI269-Epidemiologic Research in Obstetrics and Gynecology            20
2001-2005        HSPH-EPI270-Advanced Topics in Reproductive Epidemiology                    8
2003-2005        HSPH-EPI287-Female Reproductive Morbidity Associated With                  15
                 Trauma and Stress
 2003-2005       Epidemiologic Research Methods for Ob/Gyn Residents and Fellows            20
Spr 2005-2011    PubH 8377 Seminar: Chronic Disease and Behavioral Epidemiology             10-15
Fall 2006-2011 PubH 6348 Writing Research Grants                                            10-15
Winter 2005-2011 Winter Short Course, Harvard School of Public Health: Bridging Psychiatric
                 Morbidity and Adverse Reproductive Outcomes.
Summer 2006      PubH 6600 Women’s Mental Health and Reproductive Outcomes
Fall 2012-2013 PubH 6341 Epidemiologic Methods I                                            60
Spring 2017      EP 813 Intermediate Epidemiology                                           25
Fall 2017        EP 722 Data Collection Methods for Epidemiologic Research                  16
Summer 2018      EP 722 Data Collection Methods for Epidemiologic Research                  9
Fall 2018        EP 722 Data Collection Methods for Epidemiologic Research                  18
Spring 2019      EP 817 Guided Epidemiologic Research                                       8
Summer 2019      EP 722 Data Collection Methods for Epidemiologic Research                  10
Fall 2019        EP 722 Data Collection Methods for Epidemiologic Research                  20
Spring 2020      EP 817 Guided Epidemiologic Research                                       12
Summer 2020      EP 722 Data Collection Methods for Epidemiologic Research                  10
Fall 2020        EP 816 Guided Epidemiologic Research                                       9
Fall 2020        EP 722 Data Collection Methods for Epidemiologic Research                  24
Fall 2020        Development of New Asynchronous Data Collection Methods Course
Spring 2021      PH 880 Guided Epidemiologic Research (Continuation)
Spring 2021      EP 722 Data Collection Methods for Epidemiologic Research (Asynchronous)
Spring 2022      EP 722 Data Collection Methods for Epidemiologic Research (Asynchronous)
Fall 2022        EP 816 Guided Epidemiologic Research                                       11



   Advisees/Trainees - Research
   Training    Name                          Current Position
   Duration
   1992-1993 Carolyn Zelop, M.D.             Ultrasonographer, Chicago Lying-In Hospital
   1995-1997 Sarah Feldman, M.D., MPH        Assistant Professor
   1996-1997 Isaac Glatstein, M.D.           Reproductive Endocrinologist, Private Practice
   1996-1999 Lisa B. Signorello, Ph.D.       Senior Epidemiologist, International Epidemiology
                                             Association, Associate Professor, Harvard SPH
   1998-1999    Ramin Mirhashemi, M.D.       Gyn Oncologist, University of Miami
   1998-2003    Lauren A. Wise, Sc.D.        Associate Professor, Slone Epidemiology Center,
                                             Boston University
   2000-2001    Les Reti, M.D., MPH          Gynecologic Oncologist, Private Practice
   2000-2003    Beth Bazydlo, MS             Research Associate, Abt Associates
   2001-2003    Hazel Bogan, MS              Research Associate, University of Wisconsin,
                                             Madison
   2001-2003    Hadine Joffe, M.D., MS       Assistant Professor, Perinatal Psychiatry, Mass
                                             General Hospital
   2001-2004    Geetanjali Datta, MS         Research Associate, Slone Epidemiology Unit,
                                             Boston University

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   2001-2004 Sara Cherkerzian, Sc.D.        Postdoctoral Fellow, Psychiatric Epidemiology
   2003-2005 Elizabeth Reed, MS             Doctoral Student, HSPH
   2003-2005 Michele Hacker, MS             Doctoral Student, HSPH
   2004-2005 Haim A. Abenhaim, M.D.         Resident, Ob/Gyn, McGill University
   2004-2005 Ghasi Phillips, MS             Doctoral Student, HSPH
   2006-2008 Bassim Birkland, MS            Epidemiology, MPH
   2006-2009 Erin Galegher, MPH             Epidemiology, MPH
   2006-2009 Trista Olmstead,               Maternal & Child Health, MPH
   2007-2009 Jennifer (Springsteen) Fricton Maternal & Child Health, MPH
   2007-2009 Katy Backes Kozhimannil        Assistant Professor, HPM, UMN
   2008-2010 Roma Patel                     Epidemiology, MPH
   2009-current Maheruh Khandker            Epidemiology, PhD
   2010-2014 Laura Anderson                 Maternal & Child Health, MPH
   2011-2014 Christine Kunitz               Epidemiology, PhD
   2011-2014 Alyssa Herreid                 Epidemiology, MPH
   2016-        Miriam Haviland             Epidemiology, PhD
   2017-        Sam Golenbach               Epidemiology MS
   2017-        Ying Sun                    Epidemiology MPH
   2017-        Lisa Bedford                Epidemiology MS
   2018-        Sydney Willis               Epidemiology PhD
   2019-        Julia C Bond                Epidemiology PhD
   2020-2022 Chad M Coleman                 Epidemiology PhD
   2022-        Amy Zheng                   Epidemiology PhD



Invited Presentations:

      1981     Telephone Interviewing Methods, National Institutes of Health

      1982     Assessing Occupational Exposures, National Institute for Occupational Safety and
               Health

      1983     Telephone Household Screening and Interviewing, Fred Hutchinson Cancer Research
               Center

      1984     A Comparison of Computer Assisted and Hard Copy Telephone Interviewing,
               University of Washington, Seattle, WA

      1986     Health Services Research Methods Course, University of Washington, Seattle, WA

      1987     The Influence of Perineal Exposure to Talc on the Risk of Borderline Ovarian Tumors,
               Society for Epidemiologic Research

      1987     Epidemiology of Borderline Ovarian Tumors, University of Washington

      1990     The Influence of Lactose Consumption on the Association of Oral Contraceptives and
               Ovarian Cancer Risk, Fred Hutchinson Cancer Research Center


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   1990    The Influence of Lactose Consumption on the Association of Oral Contraceptives and
           Ovarian Cancer Risk, University of Minnesota

   1992    Depression and Hypogonadism, Society for Epidemiologic Research Annual Meeting

   1993    Talc: Consumer Uses and Health Perspectives, FDA Workshop, NIH

   1994    The Relationship Between Depression and Ovarian Function: An Epidemiological
           Perspective, Dartmouth Medical School

   1994    The Relationship Between Depression and Ovarian Function: An Epidemiological
           Perspective, Yale University School of Public Health

   1994    Physical Activity and Risk of Early Menopause, Society for Epidemiologic Research
           Annual Meeting

   1995    Self-reported use of antidepressants and benzodiazepine tranquilizers and risk of
           epithelial ovarian cancer, American Association for Cancer Research Annual Meeting

   1996    Assessing major depression and ovarian function: Results from the Harvard Study of
           Moods and Cycles, American Psychiatric Association Annual Meeting

   1996    Harvard Study of Moods and Cycles: Depression and factors related to menstruation
           and ovulation, Society for Epidemiologic Research Annual Meeting

   1996    Reproductive correlates of chronic fatigue syndrome, American Public Health
           Association Annual Meeting

   1997    Use of psychotropic medication and risk of malignant epithelial ovarian cancer,
           American College of Epidemiology Annual Meeting

   1997    Integration of biological, clinical, and epidemiological data in the assessment of ovarian
           cancer and other disorders in women, Dartmouth Medical School

   1997    Influence of major depression on reproductive function: Preliminary results from the
           Harvard Study of Moods and Cycles, Department of Family and Community Medicine,
           Brown Medical School

   1998    Epidemiology of Ovarian Cancer, Dana Farber Cancer Institute

   1999    Reproductive endocrine correlates of major depression: Results from the Harvard Study
           of Moods and Cycles, International Epidemiology Association

   2000    The influence of depression on ovarian function: Results from the Harvard Study of
           Moods and Cycles, Women's Health 2000 Conference

   2001    Cervical Cancer Etiology and HPV Infection, CDC



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   2001    Prevalence and Predictors of Chronic Lower Genital Tract Discomfort, Female Sexual
           Function Forum

   2001    Major depression and the risk of an early transition to the menopause: Results from the
           Harvard Study of Moods and Cycles, National Institutes of Health

   2002    Depression and the Transition to the Perimenopause: The Harvard Study of Moods and
           Cycles, American Psychiatric Association

   2002    Depression and Perimenopause: Results from the Harvard Study of Moods and Cycles,
           Oxford University, Institute of Health Sciences

   2002    Chronic Unexplained Vulvar Pain: Is vulvar dysesthesia a silent epidemic?, Oxford
           University, Department of Ob/Gyn

   2002    Prevalence and Etiologic Predictors of Chronic Lower Genital Disorders: Are we facing
           a silent epidemic? NICHD, National Institutes of Health

   2003    Depression and Risk of Early Perimenopause, Dept of Medical Epidemiology,
           Karolinska Institutet, Stockholm, Sweden

   2003    NIH Study Prevalence and Etiology of Vulvodynia, Dandryd Hospital, Karolinska
           Institutet, Stockholm, Sweden

   2003    NIH Conference on Vulvodynia - Toward Understanding a Pain Syndrome, National
           Institutes of Health

   2004    Vulvodynia and sexual pain disorders in women: A state of the art consensus
           conference, National Institutes of Health

   2004    Prevalence and Etiological Predictors of Vulvodynia, Society for Sex Therapy and
           Research, Annual Meeting, Washington DC

   2004    Prevalence and Etiological Predictors of Vulvodynia, American Medical Women's
           Association Annual Meeting

   2004    Depression and Perimenopause: The Harvard Study of Moods and Cycles, Department
           of Epidemiology, McGill University

   2006    Understanding The Bridge Between Reproductive Morbidity and Psychiatric Disorders.
           2006 Congress of Epidemiology Meeting

   2006    Influence of Mood Disorders on The Early Onset of Menopause. Obstetrics
           Gynecology Grand Rounds, University of Minnesota Medical School

   2007    Assessment of Clinical and Epidemiological Markers Related to Altered Immuno-
           Inflammatory Response Among Women With and Without Vulvodynia. International
           Society for the Study of Vulvovaginal Disease Word Congress, Alaska, July 28-August
           4, 2007
                                             11
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   2007    Global Women’s Health Update: An epidemiological perspective. Obstetrics,
           Gynecology, & Women’s Health: 38th Annual Autumn Seminar, October 1-2, 2007,
           Minneapolis, Minnesota

   2008    Harvard Study of Moods and Cycles. Department of OBGYN Grand Rounds, Iceland
           Women’s Hospital, Reykjavik, Iceland

   2008    Etiology of Vulvodynia. Iceland Society of Obstetrics and Gynecology, Reykjavik,
           Iceland

   2008    New Insight Into The Etiology of Vulvodynia. Guest Speaker: Resident and Fellow
           Research Day, Minneapolis, Minnesota, May 12, 2008

   2008    NIH Study Prevalence And Etiology of Vulvodynia, Dandryd Hospital, Karolinska
           Institute, Stockholm, Sweden

   2008    Menopause & Depression: Is There a Link? North American Menopause Society
           National Meeting, Orlando, Florida (Sept)

   2008    Exploring the Etiology of Vulvodynia: An Unexplained Vulvar Pain Syndrome.
           University of Washington, Seattle, Washington (Nov)

   2010    Probing the Pathogenesis of Unexplained Vulvar Pain. Lecture at the University of
           Vermont, Burlington Vermont (January)

   2010    Probing the Pathogenesis of Unexplained Vulvar Pain. OB/GYN Grand Rounds, Mayo
           Clinic, Rochester, Minnesota (April)

   2010    Probing the Pathogenesis of Unexplained Vulvar Pain. University of Minnesota, School
           of Public Health, Mayo Lecture (October)

   2012    Geographic variation in new onset depression during the menopausal transition: can we
           believe our data? New Findings from the Harvard Study of Moods and Cycles.
           Columbia University (March)

   2012    Disparate rates of new onset depression during the menopausal transition: Biased or
           real? 9th Annual Women’s Health Research Conference, Minneapolis, MN (Sept)

   2013    Vulvodynia: Prevalent, Debilitating, Poorly Understood; Environmental and Psychiatric
           Immunoinflammatory Hypotheses. Royal Women’s Hospital, Melbourne, Australia
           (January)

   2013    Vulvodynia: Prevalent, Debilitating, Poorly Understood; Environmental and Psychiatric
           Immunoinflammatory Hypotheses. James Cook University School of Public Health
           (February)

   2013    Vulvodynia: Prevalent, Debilitating, Poorly Understood; Environmental and Psychiatric
           Immunoinflammatory Hypotheses. NICHD Program in Reproductive and Adult
           Endocrinology Research Conference. (April)
                                             12
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     2014      Vulvodynia: Prevalent, Debilitating, Poorly Understood; Exploring Biopsychosocial
               Hypotheses. Harvard School of Public Health Invited Seminar Series (October)

     2014      Vulvodynia: Prevalent, Debilitating, Poorly Understood; Exploring Biopsychosocial
               Hypotheses. Medical University of South Carolina Seminar (November)

     2015      The role of trauma and psychiatric morbidity in women’s gynecological disorders.
               Harvard T.H. Chan School of Public Health, Psychiatric Epidemiology Colloquium.
               (December)

     2016      Recurrent Yeast Infections and Vulvodynia: Can we believe associations based on self-
               reported data? American Epidemiological Society (March)

     2016      Vulvodynia: Prevalent, Debilitating, Poorly Understood; Exploring Biopsychosocial
               Hypotheses. University of Massachusetts School of Public Health Invited Seminar
               (April)

     2017      The Prevention of Lower Urinary Tract Symptoms (PLUS) Research Consortium: A
               transdisciplinary approach toward promoting bladder health and preventing lower
               urinary tract symptoms in women across the life course. University of Iceland,
               Department of Public Health Sciences (September)

     2018      The association of vulvodynia and urological urgency and frequency: Findings from a
               community-based study. The International Continence Society Annual Meeting.
               Philadelphia, August, 2018.

     2019      Vaginal microbiome and vulvodynia. International Society for the Study of
               Vulvovaginal Diseases (ISSVD World Congress, Turin, Italy. (September)

     2020      Lower Urinary Tract Symptoms at Age 19: Associations with Sexual Activities Prior to
               Age 17. American Urogynecology Society (September)

     2020      Invited Symposium: Vulvodynia: Prevalent; Debilitating; An Epidemiologic Challenge.
               Society for Perinatal Epidemiologic Research (December)

     2022      Invited Symposium: Vulvodynia: Prevalent; Debilitating; An Epidemiologic Challenge.
               International Society for the Study of Vulvovaginal Diseases (ISSVD World Congress,
               Dublin, Ireland. (June)

Publications

Reviews/Chapters/Editorials

   1. Harlow BL, Hartge PA. A review of perineal talc exposure and risk of ovarian cancer. Regul
      Toxicol Pharmacol. 1995;21(2):254-60.
   2. Harlow BL, Abraham ME. Depression in Menopause. In: Seifer DB, Kennard EA, editors.
      Menopause: Endocrinology and Management. Totowa (NJ): The Humana Press, Inc; 1999. p.
      111-124.


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 3. Gyllstrom ME, Schreiner PJ, Harlow BL. Pereimenopause and depression: strength of
    association, causal mechanisms and treatment recommendations. Chapter 8 in: Best Practice &
    Research Clinical Obstetrics and Gynaecology, Vol 21, No. 2, pp. 275-292, 2007.
 4. Ferguson S, Soares CN, Harlow BL. Depression during the Perimenopausal Transition: What
    have we learned from epidemiological studies? In: Soares C, Warren M (eds): The Menopausal
    Transition. Interface between Gynecology and Psychiatry. Key Issues in Mental Health. Basel,
    Karger, 2009, vol 175, pp 66-76.
 5. Rasmussen-Torvik, LJ and Harlow BL. The association between depression and diabetes in the
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     Association Between Immune-Related Conditions Across the Life-Course and Provoked
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163. James AS, ……Harlow BL. Building Community Engagement capacity in a transdisciplinary,
     population health research consortia, In press.
164. Husain J,….Harlow BL The Effect of Cannabis Use on Opioid Relapse in Patients on Extended-
     Release Naltrexone or Buprenorphine-Naloxone for Opioid Use Disorder: A Secondary Analysis
     of the X:BOT Trial. Amer J Addictions, In press.
165. Raposa M, Smithers DL, Matthews CM, Harlow BL. Depression and help seeking behaviors
     among college students: Findings from the Healthy Minds Study. J American College Health, In
     press.
166. Yang Y, Valdimarsdottir UA, Manson JE, Sievert LL Harlow BL, Eliassen AH, Bertone-
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                             EXHIBIT B
      Curriculum Vitae of Kenneth Rothman, DrPH
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                      Curriculum Vitae of Kenneth Jay Rothman
 Academic Training
       Dr.P.H.                 Epidemiology and Biostatistics              1972
                               Harvard School of Public Health

          M.P.H.               Epidemiology                                1970
                               Harvard School of Public Health

          D.M.D.               Dental Medicine                             1969
                               Harvard School of Dental Medicine

          A.B.                 Physical Sciences                           1966
                               Colgate University

 Honors
          Phi Beta Kappa; Student Prize Paper, Society for Epidemiologic Research, 1972; Adolph
          G. Kammer Award, American Occupational Medical Association, 1983; James H.
          Sterner Lecturer, University of California at Irvine, 1987; Boston University School of
          Public Health Excellence in Teaching Award, 1990, 1991, 1992, 1996; American Journal
          of Epidemiology “Classic Paper” selection ("Causes," originally published in 1976),
          1995; Will Solimene Award for Excellence in Medical Communication, American
          Medical Writers Association, 1997; Honorary Fellowship, American College of
          Epidemiology, 1997; Commencement Speaker, Netherlands Institute for Health Science,
          Erasmus University, Rotterdam, June 1999; American Public Health Association
          Lilienfeld Teaching Award, 2000; Fellowship, International Society for
          Pharmacoepidemiology, 2005; Distinguished Fellow, RTI International, 2008; Harry
          Guess Memorial Lecture, UNC Gillings School of Public Health, 2009; Mildred
          Morehead Visiting Professor and Lecturer, Albert Einstein College of Medicine, 2010;
          Saward-Berg Invited Lecturer, University of Rochester, 2012; Leonard M. Schuman
          Invited Lecture, University of Michigan, 2012; Abraham Lilienfeld Award for
          Excellence in Epidemiology, American College of Epidemiology, 2014; Cutter Lecturer,
          Harvard University School of Public Health, 2014; Harland Austin Invited Lecturer,
          Emory University School of Public Health, 2015; Society for Epidemiologic Research
          Career Accomplishment Award, 2017; Honorary Degree: M.D. Honoris Causa, Univ of
          Aarhus, 2017; Honorary Skou Professor of Epidemiology, Univ of Aarhus, 2019-24.

 Positions Held
        Position               Institution                                 Dates
        Distinguished          Research Triangle Institute                 2022-Present
        Fellow Emeritus

          Professor            Department of Epidemiology                1988-Present
                               Boston University School of Public Health

          Honorary Professor   Department of Clinical Epidemiology         2012-Present
                               Faculty of Health, Aarhus University
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Kenneth J. Rothman                                 page -2-                              Curriculum Vitae


             Distinguished Fellow Research Triangle Institute                    2009-2021

             VP Epidemiology       RTI Health Solutions                          2005-2021

             Foreign Adjunct       Department of Medical Epidemiology            2001-2006
             Professor             Karolinska Institute, Stockholm

             Adjunct Professor     Department of Epidemiology                    1992-2006
                                   Harvard School of Public Health

             Founding Editor       Epidemiology                                  1988-2001

             Senior Scientist      Epidemiology Resources Inc.                   1980-1999
                                   Newton Lower Falls, MA

             Professor             Department of Family and                      1984-1989
                                   Community Medicine
                                   U. of Mass. Medical School

             Consultant in         Massachusetts General Hospital                1975-1985
             Epidemiology          Boston, MA

             Research Associate    Children's Hospital                           1973-1985
             in Cardiology         Boston, MA

             Associate             Department of Epidemiology                    1975-1984
             Professor             Harvard School of Public Health

             Visiting              National Cancer Institute                     1976-1977
             Epidemiologist        Bethesda, MD

             Assistant             Department of Epidemiology                    1972-1975
             Professor             Harvard School of Public Health

      Other Professional Activities
             Member                 Editorial Board, Eur J Epidemiol             2011-Present

             Member                Editorial Board, RTI Press                    2015-2021

             Member                Scientific Advisory Board, Observational      2009-2013
                                   Medical Outcomes Partnership (OMOP),
                                   Foundation For the National Institutes
                                   of Health

             Board of Directors    Intl. Society for Pharmacoepidemiology        2002-2008
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Kenneth J. Rothman                               page -3-                           Curriculum Vitae


             Member               International Agency for Research on      2007
                                  Cancer (IARC) Review Committee
                                  Biostatistics and Epidemiology

             Member               Board of Scientific and Policy Advisers   1988-2006
                                  American Council on Science and Health

             Member               Scientific Oversight Committee            2002-2006
                                  Interphone Study
                                  International Union Against Cancer

             Member               CDC/IOM Workshop on the Health            2006
                                  Burden of Overweight and Obesity

             Member               External Epidemiology Advisory Panel      2005
                                  National Institute of Allergy and
                                  Infectious Disease

             International        The Lancet                                1996-2002
             Advisory Board

             Member               National Council on Radiation             1979-1992
                                  Protection and Measurements,
                                  Scientific Committee 59
                                  (Evaluation of Human Irradiation
                                  Exposure Experience)

             Chair                Working Group on Methodology Issues       1990-1992
                                  in Environmental Epidemiology
                                  The Health Effects Institute

             Editorial Board      New England Journal of Medicine           1978-1989

             Member               Health and Environment Research           1986-1989
                                  Advisory Committee
                                  U.S. Department of Energy

             Editor               American Journal of Epidemiology          1982-1987

             Assistant Editor     American Journal of Public Health         1983-1987

             Board of Overseers   American Journal of Epidemiology          1984-1985

             President            Society for Epidemiologic Research        1984-1985
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Kenneth J. Rothman                                page -4-                             Curriculum Vitae


             Epidemiology         American Public Health Association          1979-1985
             Section Council


             Member               Advisory Committee to the Surgeon           1984-1985
                                  General on the Health Consequences
                                  of Smokeless Tobacco

             Co-chair             Advisory Panel                             1983
                                  Consensus Workshop on Formaldehyde
                                  Environmental Protection Agency and
                                  National Center for Toxicological Research
                                  (Environmental Health
                                  Perspectives, Vol. 58, Dec. 1984)

             Associate Editor     American Journal of Epidemiology            1979-1982

      Invited Courses in Epidemiologic Methods
                Erasmus Summer Programme                        2002-2017 (annually)
                Erasmus Winter Programme                        2009-2018 (annually)
                Universitá Cattolica del Sacro Cuore, Rome      2007, 09, 11, 13, 15, 17
                Teikyo University, Tokyo, Japan                 2014
                Australian Res. Allian. for Children & Youth    2013
                University of Auckland, New Zealand             2008
                University of Halle, Germany                    2005
                Ohio State University                           2002, 2004
                Nat. Inst. Publ. Hlth (RIVM), The Netherlands   2001, 2002
                Mediterranean School of Epidemiology            2001
                Free University, The Netherlands                1998
                University of Tasmania, Australia               1995, 1997, 2002, 2006
                California Department of Health Services        1994
                University of Uppsala, Sweden                   1993
                University of Madrid, Spain                     1993
                University of Santiago de Compostela, Spain     1991
                University of Oslo, Norway                      1990, 2005, 09, 12, 14
                University of Nijmegen, The Netherlands         1989, 91, 94, 95, 97, 2000, 2002
                Bundesgesundheitsamt, Germany                   1988
                U. S. Food and Drug Administration, DHHS        1988
                University of Utah                              1987
                University of Aarhus, Denmark                   1986, 92, 94, 96, 2003
                Karolinska Institute, Sweden                    1981, 83, 85, 87, 2002
                New England Epidemiology Institute              1981-2001 (annually)
                Massachusetts Institute of Technology           1980, 81
                Centers for Disease Control                     1979, 81
                University of Washington                        1978, 80, 85
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Kenneth J. Rothman                                page -5-                            Curriculum Vitae


                University of North Carolina                   1977
                University of Minnesota                        1974, 1975, 1976
      Books
      Epidemiologic Analysis with a Programmable Calculator. Rothman KJ and JD Boice Jr., U.S.
            Department of Health, Education and Welfare, Public Health Service, National Institutes
            of Health, NIH Publication No. 79-1649, 1979.

      Epidemiologic Analysis with a Programmable Calculator, with an Appendix for the HP-41CV by
            H Austin. Rothman KJ and JD Boice Jr., Epidemiology Resources Inc., Boston, MA,
            1982.

      Modern Epidemiology. Rothman KJ. Little, Brown & Co., Boston, MA, 1986.

      Causal Inference. Rothman KJ, ed. Epidemiology Resources Inc., Boston, MA, 1988.

      Modern Epidemiology, 2nd Edition. Rothman KJ and Greenland S. Lippincott, Philadelphia,
            PA, 1998

      Epidemiology. An Introduction. Rothman KJ. Oxford University Press, New York, 2002

      Modern Epidemiology, 3rd Edition. Rothman KJ, Greenland S and Lash T. Lippincott,
            Philadelphia, PA, 2008

      Epidemiology. An Introduction, 2nd Edition. Rothman KJ. Oxford University Press, New
            York, 2012

      Modern Epidemiology, 4th Edition. Lash TL, VanderWeele TJ, Haneuse S, Rothman KJ,
            Wolters-Kluwers, Philadelphia, PA, 2021


      Book Chapters
      "Alcohol," Rothman KJ, in Persons at High Risk of Cancer: An Approach to Cancer Etiology
            and Control, Joseph Fraumeni, Jr. (ed.), Academic Press, New York, 1975.

      "Five-year Follow-up of Infant Cardiacs: Intelligence Quotient," Fyler DC, Silbert AR and
             Rothman KJ, in The Child with Congenital Heart Disease After Surgery, Kidd BSL and
             Rowe RD (eds.), Futura, Mt. Kisco, NY, 1976.

      "Causes and Risks," Rothman KJ, in Pulmonary Disease: Defense Mechanisms and
            Populations at Risk, Clark MA (ed.), Tobacco and Health Research Institute, Lexington,
            KY, 1977.

      "The Determinants of Five Year Survival of Infants with Critical Congenital Heart Disease,"
            Fyler DC, Rothman KJ, Buckley LP, et al., in Pediatric Cardiovascular Disease, Engle
            MA (ed.), FA Davis Co., Philadelphia, PA, 1980.
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Kenneth J. Rothman                                 page -6-                             Curriculum Vitae


      "Diseases of the Mouth," Rothman KJ, in Preventive and Community Medicine, Clark DW and
             MacMahon B (eds.), 2nd edition, Little, Brown and Co., Boston, MA, 1981.

      "Causation and Causal Inference," in Cancer Epidemiology and Prevention, Schottenfeld D and
             Fraumeni JF, Jr. (eds.), WB Saunders Co., Philadelphia, PA, 1982.

      "Significance of Studies of Low-Dose Radiation Fallout in the Western United States," KJ
              Rothman, in Radiation Carcinogenesis: Epidemiology and Biological Significance,
              Boice JD Jr., and Fraumeni JF Jr. (eds.), Raven Press, New York, NY 1984.

      "Interpretation of Epidemiologic Studies on Smokeless Tobacco and Cancer," KJ Rothman, in
              Health Implications of Smokeless Tobacco, NIH Consensus Development Conference,
              1986.

      "Epidemiology of Laryngeal Cancer," Cann CI, Rothman KJ, Fried MP, in The Larynx, Fried
            MP (ed.), Little, Brown and Co., Boston, MA, 1988.

      Foreword to Pharmacoepidemiology. An Introduction, Rothman KJ; Hartzema AG, Porta MS
            and Tilson HH (eds.), Harvey Whitney Books, Cincinnati, 1988.

      "Malattie della bocca," Rothman KJ, in Medicina Preventiva e di Comunità, Clark DW and
             MacMahon B, Liviana Università Press, 1994.

      "Epidemiology of Laryngeal Cancer," Cann CI, Rothman KJ, Fried MP, Chap 37 in The
            Larynx, a Multidisciplinary Approach (Second Edition), Fried MP (ed.), Mosby, St.
            Louis, 1995.

      "Causation and Causal Inference," Rothman KJ and Poole C, in Cancer Epidemiology and
             Prevention, 2nd edition, Schottenfeld D and Fraumeni JF, Jr. (eds.), Oxford University
             Press, New York, 1996.

      “Causation and Causal Inference,” Rothman KJ and Greenland S, in The Oxford Textbook of
            Public Health, 3rd Edition, Detels R, Holland WW, McEwen J, and Omenn GS, eds.,
            Oxford University Press, Oxford, 1997

      “Hill’s Criteria for Causality,” Rothman KJ, Greenland S, in The Encyclopedia of Biostatistics,
              3:1920-1924, Armitage P and Colton T, eds., John Wiley & Sons, Chichester, UK, 1998

      “Validity and Generalizability in Epidemiologic Studies,” Rothman KJ, Greenland S, in The
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                             EXHIBIT C
                       Materials Considered
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